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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION


 VERNON L. OWEN
                                                        CASE NO.: 1:18-cv-00280
                   Plaintiff,
                                                        JUDGE:
         -v-

 HELVEY & ASSOCIATES, INC.                              COMPLAINT
                                                        JURY TRIAL DEMANDED
                    Defendant.


      Plaintiff, Vernon L. Owen, for his complaint against Helvey & Associates Inc.

(“Defendant”), states as follows:

                                      NATURE OF THE ACTION

   1. Plaintiff brings this action seeking damages pursuant to the Fair Debt Collection Practices

Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”), and the Indiana Deceptive Consumer Sales Act, I.C.

24-5-0.5 et seq. (“IDCSA”), for Defendant’s unlawful collection practices as described herein.

                                    JURISDICTION AND VENUE

   2. This action arises under and is brought pursuant to the FDCPA. Subject matter jurisdiction

is therefore conferred upon this Court by 15 U.S.C § 1692k and 28 U.S.C. §§ 1331, 1337, as the

action arises under the laws of the United States. Supplemental jurisdiction exists for the state law

claim pursuant to 28 U.S.C. § 1367.

   3. Venue is proper in this Court pursuant to 28 U.S.C. § 1391 as Defendant transacts business

in the Northern District of Indiana and the events and/or omissions giving rise to the claims made

herein occurred within the Northern District of Indiana.
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                                             PARTIES

    4. Plaintiff, Vernon L. Owen (“Mr. Owen”), is a natural adult person residing in Fort Wayne,

Indiana, which lies within the Northern District of Indiana.

    5. Mr. Owen is a “consumer” as defined by § 1692a(3) of the FDCPA.

    6. Mr. Owen is a “person” as defined by I.C. 24-5-0.5-2(a)(2) of the IDCSA.

    7. Defendant, Helvey & Associates Inc., is an Indiana corporation in the business of collecting

consumer debts on behalf of others within the State of Indiana and throughout the United States.

As such, Defendant regularly uses the mails and/or the telephone to collect, or attempt to collect,

delinquent consumer accounts.

    8. On its website and correspondences, Defendant identifies itself as a debt collector.1

    9. Defendant is a “debt collector” as that term is defined by § 1692a(6) of the FDCPA.

   10. Defendant is a “supplier” as that term is defined by I.C. 24-5-0.5-2(a)(3) of the IDCSA.

                                 FACTS SUPPORTING CAUSES OF ACTION

   11. Due to his ongoing medical conditions, Mr. Owen regularly seeks treatment from medical

providers and has accumulated numerous debts, some of which remain outstanding.

   12. Mr. Owen owed one such medical debt to Parkview Health Physicians, for services it

rendered to him (the “Subject Debt”).

   13. Following the default, the Subject Debt was sold, assigned and/or transferred to Defendant

for collection.

   14. On or around May 29, 2018, Defendant mailed a dunning correspondence to Mr. Owen

attempting to collect the Subject Debt. A copy of the correspondence is attached to this complaint

as Exhibit A (the “Collection Letter”).


        1
            See http://www.hlv.com.

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   15. The Collection Letter was the initial communication Mr. Owen received from Defendant

concerning the Subject Debt.

   16. As the initial communication concerning the Subject Debt, the Collection Letter contained

the requisite debt verification rights notice, disclosed by Defendant to Mr. Owen pursuant to 15

U.S.C. § 1692g (the “G-Notice”).

   17. Despite containing the G-Notice, the Collection Letter demanded immediate payment

from Mr. Owen by stating, in relevant part:

              “Your account has been placed with us for collection. The total
              balance due as of the date of this letter is stated to the left. Maybe you
              did not intend to overlook this bill but it is due in full. Pay in full to
              our office using any of the payment options below.” See Exhibit A.

   18. In addition, a detachable payment coupon was included with the Collection Letter,

forming the bottom portion of the letter, and an envelope was enclosed with the Collection Letter

for Mr. Owen to mail his payment. See Exhibit A.

   19. Defendant’s demand for immediate payment from Mr. Owen within the Collection Letter

overshadowed its disclosure of the G-Notice to him.

   20. The Collection Letter also indicated that Mr. Owen could go to Defendant’s website at

any time to make a payment via credit card. See Exhibit A.

   21. On or around August 6, 2018, in response to receiving the Collection Letter, Mr. Owen

accessed Defendant’s online portal to make a payment on the Subject Debt but became confused

when the payment prompt indicated that Defendant was entitled to collect a $7.00 “processing fee”

if Mr. Owen chose to make a payment via credit card (the “Processing Fee”). A screenshot of

Defendant’s online payment portal is attached to this complaint as Exhibit B.

   22. The Processing Fee is not expressly authorized pursuant to any underlying contract

between Mr. Owen and Parkview Health Physicians.


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   23. The Processing Fee constitutes a false, deceptive and/or misleading representation to the

extent it implied that Defendant could legally collect this fee.

                                             DAMAGES

   24. Mr. Owen was misled by Defendant’s collection activity.

   25. Mr. Owen justifiably fears that, absent this Court’s intervention, Defendant will continue

to attempt to collect payment from him using abusive, deceptive and unlawful means, and

ultimately cause him unwarranted economic harm.

   26. Due to Defendant’s conduct, Mr. Owen was forced to hire counsel and his damages

therefore include reasonable attorneys’ fees incurred in prosecuting this action.

   27. After a reasonable time to conduct discovery, Mr. Owen believes he can prove that all

actions taken by Defendant as described herein were taken willfully and/or with knowledge that

its actions were taken in violation of the law.

   28. Due to Defendant’s conduct, Mr. Owen is entitled to statutory damages, punitive damages

and all other appropriate measures to punish and deter Defendant and other debt collection

agencies from engaging in the unlawful collection practices described herein.

                                    GROUNDS FOR RELIEF

                                         COUNT I
                 VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                        15 U.S.C. §§ 1692e, e(2)(A), e(10), f, and f(1)

   29. All prior paragraphs are incorporated into this count by reference.

   30. The FDCPA states, in relevant part:

                “A debt collector may not use any false, deceptive, or misleading
               representation or means in connection with the collection of any debt.
               Without limiting the general application of the foregoing, the
               following conduct is a violation of this section: (2) The false
               representation of -- (A) the character, amount, or legal status of any
               debt; (10) The use of any false representation or deceptive means to

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               collect or attempt to collect any debt or to obtain information
               concerning a consumer.” 15 U.S.C. §§ 1692e, e(2)(A) and e(10).

               “A debt collector may not use unfair or unconscionable means to
               collect or attempt to collect any debt. Without limiting the general
               application of the foregoing, the following conduct is a violation of
               this section: (1) The collection of any amount (including any interest,
               fee, charge, or expense incidental to the principal obligation) unless
               such amount is expressly authorized by the agreement creating the
               debt or permitted by law.” 15 U.S.C. §§ 1692f and f(1).

   31. Defendant violated 15 U.S.C. §§ 1692e, e(2)(A), e(10) and f and f(1) in representing that

Plaintiff would be charged a Processing Fee if he chose to pay via credit card using Defendant’s

online portal. Defendant’s charging of a Processing Fee is not authorized per agreement or

otherwise, and therefore, Defendant was not legally entitled to collect it from Plaintiff. For

Defendant to represent otherwise, as seen on the online portal, constitutes a false, deceptive and/or

misleading representation to the extent it implied that Defendant could legally collect the

Processing Fee from Plaintiff.

   32. As an experienced debt collector, Defendant knows that its representations to consumers

concerning the alleged debt owed and the consumer’s rights under the FDCPA are required to be

truthful, complete and accurate, and disclosed without any intent to mislead or deceive.

   33. As Plaintiff had no prior contractual relationship or dealings with Defendant whatsoever,

Plaintiff was justifiably confused and skeptical of the Collection Letter and the online portal in

relation to the Processing Fee.

   34. As set forth in paragraphs 24 through 28 above, Plaintiff has been harmed and has suffered

damages as a result of Defendant’s unlawful collection practices as described herein.

                                        COUNT II
               VIOLATIONS OF THE INDIANA DECEPTIVE CONSUMER SALES ACT
                              I.C. 24-5-0.5-3(a) and (b)(20)

   35. All prior paragraphs are incorporated into this count by reference.


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    36. The IDCSA states, in relevant part:

                “A supplier may not commit an unfair, abusive, or deceptive act,
                omission, or practice in connection with a consumer transaction.
                Such an act, omission, or practice by a supplier is a violation of this
                chapter whether it occurs before, during, or after the transaction. An
                act, omission, or practice prohibited by this section includes both
                implicit and explicit misrepresentations.” I.C. 24-5-0.5-3(a).

                “Without limiting the scope of subsection (a), the following acts,
                and the following representations as to the subject matter of a
                consumer transaction, made orally, in writing, or by electronic
                communication, by a supplier are deceptive acts: The violation by
                a supplier of the federal Fair Debt Collection Practices Act (15
                U.S.C. 1692 et seq.), including any rules or regulations issued under
                the federal Fair Debt Collection Practices Act (15 U.S.C. 1692 et
                seq.).” I.C. 24-5-0.5-3(b)(20).

                “A person relying upon an uncured or incurable deceptive act may
                bring an action for the damages actually suffered as a consumer as
                a result of the deceptive act or five hundred dollars ($500),
                whichever is greater. The court may increase damages for a willful
                deceptive act in an amount that does not exceed the greater of: (1)
                three (3) times the actual damages of the consumer suffering the
                loss; or (2) one thousand dollars ($1,000).” I.C. 24-5-0.5-4(a)(1)(2).

    37. Defendant’s collection activity in connection with the Subject Debt is a “consumer

transaction” as that term is defined by the IDCSA at I.C. 24-5-0.5-2(a)(1)(C).

    38. Defendant engaged in unfair, abusive, and deceptive conduct in its transactions with

Plaintiff, in violation of I.C. 24-5-0.5-3(a) and (b)(20), by, inter alia: (i) representing that Plaintiff

would owe a Processing Fee if he chose to pay via credit card through Defendant’s online portal;

(ii) the inconsistency of the amount owed in correlation to the amount listed in the Collection

Letter versus the online portal; and (iii) failing to properly notify Plaintiff of his rights to dispute

the Subject Debt.

    39. Defendant intended that Plaintiff rely on its unlawful communications in order to procure

immediate payment of the Subject Debt and/or prevent Plaintiff from exercising his rights. As



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such, Defendant committed a “willful deceptive act” as that term is used and/or contemplated

within the IDCSA.

   40. As set forth in paragraphs 24 through 28 above, Plaintiff has been harmed and has suffered

damages as a result of Defendant’s unlawful collection practices as described herein.

   41. Plaintiff is therefore entitled to relief pursuant to I.C. 24-5-0.5-4(a)(1)(2).

                                    PRAYER FOR RELIEF

   WHEREFORE, Plaintiff, Vernon L. Owen, respectfully requests that this Court enter judgment

in his favor as follows:

          A. Awarding Plaintiff actual damages, in amounts to be determined at trial, as
             provided under 15 U.S.C. § 1692k(a)(1) and I.C. 24-5-0.5-4(a)(1)(2);

          B. Awarding Plaintiff statutory damages in the amount of $1,000.00, as provided
             under 15 U.S.C. § 1692k(a)(2)(A);

          C. Awarding Plaintiff statutory damages, in an amount to be determined at trial, as
             provided under I.C. 24-5-0.5-4(a)(1)(2);

          D. Awarding Plaintiff the costs of this action and reasonable attorneys’ fees, as
             provided under 15 U.S.C. § 1692k(a)(3); and

          E. Awarding Plaintiff any other relief as this Court deems just and appropriate.


DATED this 7th day of September, 2018.                Respectfully Submitted,

                                                        /s/ Geoff B. McCarrell
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                                                      Counsel for Plaintiff



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                                       JURY DEMAND

   Pursuant to FED. R. CIV. P. 38(b), Plaintiff demands a trial to a jury on all issues of fact.

                                                     /s/ Geoff B. McCarrell
                                                    Geoff B. McCarrell #0086427
                                                    CONSUMER LAW PARTNERS, LLC




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